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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                )
 ANTHONY BARILLA,                               )     Civil Action No. 4:20-CV-00145
                                                )
        Plaintiff,                              )
 v.                                             )     Honorable Judge Alfred H. Bennett
                                                )
 CITY OF HOUSTON, TEXAS,                        )
                                                )
        Defendant.                              )
                                                )


                                            ORDER


        Pending before the court is the City of Houston’s motion for summary judgment against

plaintiff Anthony Barilla. Having considered the motion, response, reply, and applicable law, the

court is of the opinion that the City’s motion should be GRANTED.

        It is so ORDERED.




_________________________                   __________________________________________
Date                                        The Honorable Alfred H. Bennett
                                            United States District Judge
